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Attorneys for Plaintiff

UNITED STATES DISTRICT COURT

RONALD K. SERAFIN, DISTRICT OF NEW JERSEY
Plaintiff, Civil Action
vs. CIVIL ACTION NO.:
THOMAS D. BROWN, SCHNEIDER COMPLAINT

NATIONAL CARRIERS, INC., ALLEN
R. ENGLISH, ENGLISH TRUCKING,
HERITAGE MOTOR FREIGHT, INC.,
CALDER J. GLASEBROOK,

Defendants

THE PARTIES

1. The plaintiff, RONALD K. SERAFIN, is an individual who resides at 32 Major
Street, Clifton, Passaic County, New Jersey, 07013.

2. The defendant, THOMAS D. BROWN, is an individual residing at 411 East
Court, Marinette, Wisconsin, 54143, and was operating the 2020 Freightliner semi-tractor,
bearing Indiana registration 2718046, and owned by defendant, SCHNEIDER NATIONAL
CARRIERS, INC.

3, The defendant, SCHNEIDER NATIONAL CARRIERS, INC., is a business
headquartered at 7101 W. 17" Avenue, Gary, Indiana, with facilities located in New Jersey,
including one located at 115 Jacobus Ave, Kearny, New Jersey 07032, and the owner of the 2020

Freightliner semi-tractor, bearing Indiana registration 2718046, and operated by defendant,

THOMAS D. BROWN.

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4, At all times herein mentioned, the defendant SCHNEIDER NATIONAL
CARRIERS, INC., provides interstate freight transportation, cargo, truckload, and logistic
services, from its numerous facilities, including 115 Jacobus Ave, Kearny, NJ 07032.

5. At all times herein mentioned, the defendant THOMAS D. BROWN was an
agent, servant, and/or employee of SCHNEIDER NATIONAL CARRIERS, INC., and was in the
course of, and scope of, his employment.

6. The defendant, ALLEN R. ENGLISH, is an individual residing at 633 Nelson
Road, Morrisdale, Pennsylvania, 16858, and was operating the 2004 Freightliner semi-tractor,
bearing Pennsylvania registration AF48795, and owned by defendant, ALLEN R. ENGLISH
and/or ENGLISH TRUCKING and/or HERITAGE MOTOR FREIGHT, INC.

7. The defendant, ENGLISH TRUCKING, is a business located at 633 Nelson Road,
Morrisdale, Pennsylvania, 16858, and the owner, lessee, or lessor of the 2004 Freightliner sem1-
tractor, bearing Pennsylvania registration AF48795, and operated by defendant, ALLEN R.
ENGLISH.

8. The defendant, HERITAGE MOTOR FREIGHT, INC., is a business located at
633 Nelson Road, Morrisdale, Pennsylvania, 16858, and the owner, lessee, or lessor of the 2004
Freightliner semi-tractor, bearing Pennsylvania registration AF48795, and operated by

defendant, ALLEN R. ENGLISH.
9. At all times herein mentioned, the defendants, ENGLISH TRUCKING and

HERITAGE MOTOR FREIGHT, INC., provides interstate freight transportation services, from

its facility at 733 Nelson Road, Morrisdale, Pennsylvania, 16858.

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10. At all times herein mentioned, the defendant, ALLEN R. ENGLISH, was an
agent, servant, and/or employee of ENGLISH TRUCKING and/or HERITAGE MOTOR
FREIGHT, INC., and was in the course of, and scope of, his employment.

11. The defendant, CALDER J. GLASEBROOK, is an individual residing at 227
Bridge Street, Northampton, Massachusetts, 01060, and the owner and operator of the 2010

Subaru Forester, bearing Ohio registration 8NP274.

JURISDICTION AND VENUE

12. This Court has jurisdiction pursuant to 28 U.S.C. 1332(a)(1), as the plaintiff is a
citizen of New Jersey, the defendants are citizens of Ohio, Wisconsin, Indiana, Massachusetts,

and Pennsylvania, and the amount in controversy is in excess of $75,000.00, exclusive of

interest, costs and attorney’s fees.

13. Venue lies in this district pursuant to 28 U.S.C. 1391(b)3, as defendant,
SCHNEIDER NATIONAL CARRIERS, INC., is subject to this Court’s personal jurisdiction,

with respect to this action.

FACTUAL ALLEGATIONS

14. On or about December 18, 2019, the plaintiff, RONALD K. SERAFIN, was the
operator of a certain 2007 Volvo Truck, which was traveling in a westerly direction on

Interstate 80 in Austintown, Ohio.

15, At the time and place alleged, the defendant, THOMAS D. BROWN, was the
operator of a certain 2020 Freightliner semi-tractor, owned by defendant, SCHNEIDER
NATIONAL CARRIERS, INC., which was traveling in a westerly direction on Interstate 80 in

Austintown, Ohio.

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16. At the time and place alleged, the defendant, ALLEN R. ENGLISH, was the
operator of a certain 2004 Freightliner semi-tractor, owned, leased, rented and/or possessed by
defendants, ALLEN R. ENGLISH, ENGLISH TRUCKING and/or HERITAGE MOTOR
FREIGHT, INC., which was traveling in a westerly direction on Interstate 80 in Austintown,
Ohio.

17. At the time and place alleged, the defendant, CALDER J. GLASEBROOK, was
the owner and operator of a certain 2010 Subaru Forester, which was traveling in a westerly

direction on Interstate 80 in Austintown, Ohio.

18. As the Plaintiff and the defendants, THOMAS D. BROWN and SCHNEIDER
NATIONAL CARRIERS, INC., were traveling in the right lane of Interstate 80, when the
defendants, THOMAS D. BROWN and SCHNEIDER NATIONAL CARRIERS, INC., so
negligently and carelessly operated the truck that they lost control of their truck, resulting in a

forceful collision with the Plaintiffs truck, thereby causing the injuries and damages which are

the subject of this action.

19. As the Plaintiff and the defendant, CALDER J. GLASEBROOK, were traveling
in the right lane of Interstate 80, when the defendant, CALDER J. GLASEBROOK, so
negligently and carelessly operated his vehicle, resulting in a rear-end collision with the
Plaintiff's truck, thereby causing the injuries and damages which are the subject of this action.

20. As the Plaintiff and the defendants, ALLEN R. ENGLISH, ENGLISH
TRUCKING and HERITAGE MOTOR FREIGHT, INC., were traveling in the lane adjacent to
the Plaintiff's on Interstate 80, when the defendants, ALLEN R. ENGLISH, ENGLISH
TRUCKING and HERITAGE MOTOR FREIGHT, INC., so negligently and carelessly operated

the truck that they lost control of their truck, resulting in a forceful collision with defendants,

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THOMAS D. BROWN and SCHNEIDER NATIONAL CARRIERS, INC.’S, truck, and further

collision with the Plaintiff’s truck, thereby causing the injuries and damages which are the

subject of this action.

COUNT ONE

21. The plaintiff, RONALD K. SERAFIN, incorporates by reference the previous
allegations of this Complaint as fully as though the same were set forth herein at length.
22. On or about December 18, 2019, the plaintiff, RONALD K. SERAFIN, was the

operator of a certain 2007 Volvo Truck, which was traveling in a westerly direction on

Interstate 80 in Austintown, Ohio.

23. On the same date and time, defendants, THOMAS D. BROWN, SCHNEIDER
NATIONAL CARRIERS, INC., ALLEN R. ENGLISH, ENGLISH TRUCKING, HERITAGE
MOTOR FREIGHT, INC., and CALDER J. GLASEBROOK, negligently and carelessly drove
their respective trucks and/or motor vehicles without making proper observations, without
keeping their trucks and/or motor vehicles under adequate control, in violation of numerous
motor vehicle statutes of the State of Ohio, so as to cause, their trucks and/or motor vehicles to
collide causing serious injuries to the plaintiff, RONALD K. SERAFIN.

24. Asa result of the carelessness and negligence of the defendants, THOMAS D.
BROWN, SCHNEIDER NATIONAL CARRIERS, INC., ALLEN R. ENGLISH, ENGLISH
TRUCKING, HERITAGE MOTOR FREIGHT, INC., and CALDER J. GLASEBROOK, as
aforesaid, the plaintiff, RONALD K. SERAFIN, suffered serious personal injuries, including, but
not limited to, cervical and lumbar injuries requiring invasive surgery, right knee orthopedic

injury and right and left shoulder injuries, as a result of which he has suffered and will in the

future suffer great physical pain and emotional distress.

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25. As a further result of the negligence of the defendants, THOMAS D. BROWN,
SCHNEIDER NATIONAL CARRIERS, INC., ALLEN R. ENGLISH, ENGLISH TRUCKING,
HERITAGE MOTOR FREIGHT, INC., and CALDER J. GLASEBROOK, as aforesaid, the
plaintiff, RONALD K. SERAFIN, has incurred significant medical expenses, and will in the

future incur additional medical expenses in an effort to cure himself of his injuries.

26. Asa further result of the negligence of the defendants, THOMAS D. BROWN,
SCHNEIDER NATIONAL CARRIERS, INC., ALLEN R. ENGLISH, ENGLISH TRUCKING,
HERITAGE MOTOR FREIGHT, INC., and CALDER J. GLASEBROOK, as aforesaid, the
plaintiff, RONALD K. SERAFIN, was unable to attend to his usual activities and employment,
as a result of which he has suffered a loss of earnings and earning capacity, and may continue to

incur such losses for an indefinite time in the future.

WHEREFORE, the plaintiff, RONALD K. SERAFIN, demands judgment against the
defendants, THOMAS D. BROWN, SCHNEIDER NATIONAL CARRIERS, INC., ALLEN R.
ENGLISH, ENGLISH TRUCKING, HERITAGE MOTOR FREIGHT, INC., and CALDER J.

GLASEBROOK, both jointly and severally, in an amount in excess of $75,000.00, exclusive of

interest, costs and attorney’s fees.

COUNT TWO

27. The plaintiff, RONALD K. SERAFIN, incorporates by reference the previous

allegations of this Complaint as fully as though the same were set forth herein at length.

28. At the time and place alleged, the defendant, THOMAS D. BROWN, was
operating the truck owned by defendant, SCHNEIDER NATIONAL CARRIERS, INC., with the
full knowledge and permission of defendant, SCHNEIDER NATIONAL CARRIERS, INC., as

its agent, servant or employee, thereby imputing the negligence and carelessness of the

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defendant, THOMAS D. BROWN, to the defendant, SCHNEIDER NATIONAL CARRIERS,
INC.

WHEREFORE, the plaintiff, RONALD K. SERAFIN, demands judgment against the
defendants, THOMAS D. BROWN, SCHNEIDER NATIONAL CARRIERS, INC., ALLEN R.
ENGLISH, ENGLISH TRUCKING, HERITAGE MOTOR FREIGHT, INC., and CALDER J.

GLASEBROOK, both jointly and severally, in an amount in excess of $75,000.00, exclusive of

interest, costs and attorney’s fees.

COUNT THREE

29. The plaintiff, RONALD K. SERAFIN, incorporates by reference the previous
allegations of this Complaint as fully as though the same were set forth herein at length.

30. Upon information and belief, defendant, SCHNEIDER NATIONAL CARRIERS,
INC., is a Carrier registered with the U.S. Department of Transportation, DOT number 264184,
to carry certain Cargo, and in the business of delivering and transporting freight and cargo
interstate.

31. As a Carrier authorized to transport freight and cargo interstate, SCHNEIDER
NATIONAL CARRIERS, INC., had a duty to properly and carefully screen, hire, train and

supervise all persons it employed to drive their trucks carrying freight and cargo on interstate

public roads and highways.

32. As a Carrier authorized to transport freight and cargo interstate, defendant,
SCHNEIDER NATIONAL CARRIERS, INC., had a duty and legal obligation to place only
knowledgeable, trained and experienced truck drivers on public interstate roads and highways.

33. In violation of its statutory regulatory and other duties, Defendants failed to

properly screen, train, supervise, and retain defendant, THOMAS D. BROWN.

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34. The Defendant hired defendant, THOMAS D. BROWN, who lacked experience
and training, in violation of its standard of care and accepted industry carrier standards and
practices and entirely failed to train THOMAS D. BROWN.

35. The Defendant’s conduct, individually and in concert, was willful and with
wanton disregard for persons who foreseeably could be harmed by Defendant’s conduct, such as
persons driving on public interstate roads.

36. As a result of the carelessness and negligence of the defendants, THOMAS D.
BROWN and SCHNEIDER NATIONAL CARRIERS, INC., as aforesaid, the plaintiff,
RONALD K. SERAFIN, suffered serious personal injuries, including, but not limited to, cervical
and lumbar injuries requiring invasive surgery, right knee orthopedic injury and right and left
shoulder injuries, as a result of which he has suffered and will in the future suffer great physical

pain and emotional distress.

37, As a further result of the negligence of the defendants, THOMAS D. BROWN
and SCHNEIDER NATIONAL CARRIERS, INC., as aforesaid, the plaintiff, RONALD K.
SERAFIN, has incurred significant medical expenses, and will in the future incur additional
medical expenses in an effort to cure himself of his injuries.

38. As a further result of the negligence of the defendants, THOMAS D. BROWN
and SCHNEIDER NATIONAL CARRIERS, INC., as aforesaid, the plaintiff, RONALD K.
SERAFIN, was unable to attend to his usual activities and employment, as a result of which he
has suffered a loss of earnings and earning capacity, and may continue to incur such losses for an

indefinite time in the future.

WHEREFORE, the plaintiff, RONALD K. SERAFIN, demands judgment against the

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defendants, THOMAS D. BROWN, SCHNEIDER NATIONAL CARRIERS, INC., ALLEN R.
ENGLISH, ENGLISH TRUCKING, HERITAGE MOTOR FREIGHT, INC., and CALDER J.
GLASEBROOK, both jointly and severally, in an amount in excess of $75,000.00, exclusive of

interest, costs and attorney’s fees.

COUNT FOUR

39, The plaintiff, RONALD K. SERAFIN, incorporates by reference the previous
allegations of this Complaint as fully as though the same were set forth herein at length.

40. At the time and place alleged, the defendant, ALLEN R. ENGLISH, was
operating the truck owned by defendants, ENGLISH TRUCKING and/or HERITAGE MOTOR
FREIGHT, INC., with the full knowledge and permission of defendants, ENGLISH TRUCKING
and/or HERITAGE MOTOR FREIGHT, INC., as its agent, servant or employee, thereby
imputing the negligence and carelessness of the defendant, ALLEN R. ENGLISH, to the
defendants, ENGLISH TRUCKING and/or HERITAGE MOTOR FREIGHT, INC.

WHEREFORE, the plaintiff, RONALD K. SERAFIN, demands judgment against the
defendants, THOMAS D. BROWN, SCHNEIDER NATIONAL CARRIERS, INC., ALLEN R.
ENGLISH, ENGLISH TRUCKING, HERITAGE MOTOR FREIGHT, INC., and CALDER J.
GLASEBROOK, both jointly and severally, in an amount in excess of $75,000.00, exclusive of

interest, costs and attorney’s fees.

COUNT FIVE

41. The plaintiff RONALD K. SERAFIN, incorporates by reference the previous
allegations of this Complaint as fully as though the same were set forth herein at length.

42. Upon information and belief, defendant, ALLEN R. ENGLISH, ENGLISH

TRUCKING and/or HERITAGE MOTOR FREIGHT, INC., is a Carrier registered with the U.S.

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Department of Transportation, DOT number 1040805, to carry freight, and in the business of

delivering and transporting freight interstate.

43. As a Carrier authorized to transport freight and cargo interstate, ALLEN R.
ENGLISH, ENGLISH TRUCKING and/or HERITAGE MOTOR FREIGHT, INC., had a duty
to properly and carefully screen, hire, train and supervise all persons it employed to drive their
trucks carrying freight on interstate public roads and highways.

44. As a Carrier authorized to transport freight and cargo interstate, defendants,
ALLEN R. ENGLISH, ENGLISH TRUCKING and/or HERITAGE MOTOR FREIGHT, INC.,
had a duty and legal obligation to place only knowledgeable, trained and experienced truck
drivers on public interstate roads and highways.

45. In violation of its statutory regulatory and other duties, Defendants failed to
properly screen, train, supervise, and retain defendant, ALLEN R. ENGLISH.

46. The Defendant hired defendant, ALLEN R. ENGLISH, who lacked experience
and training, in violation of its standard of care and accepted industry carrier standards and

practices and entirely failed to train ALLEN R. ENGLISH.

47. The Defendant’s conduct, individually and in concert, was willful and with

wanton disregard for persons who foreseeably could be harmed by Defendant’s conduct, such as

persons driving on public interstate roads.

48. As a result of the carelessness and negligence of the defendants, ALLEN R.
ENGLISH, ENGLISH TRUCKING and/or HERITAGE MOTOR FREIGHT, INC., as aforesaid,
the plaintiff, RONALD K. SERAFIN, suffered serious personal injuries, including, but not

limited to, cervical and lumbar injuries requiring invasive surgery, right knee orthopedic injury

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and right and left shoulder injuries, as a result of which he has suffered and will in the future
suffer great physical pain and emotional distress.

49, As a further result of the negligence of the defendants, ALLEN R. ENGLISH,
ENGLISH TRUCKING and/or HERITAGE MOTOR FREIGHT, INC., as aforesaid, the
plaintiff, RONALD K. SERAFIN, has incurred significant medical expenses, and will in the
future incur additional medical expenses in an effort to cure himself of his injuries.

50. As a further result of the negligence of the defendants, ALLEN R. ENGLISH,
ENGLISH TRUCKING and/or HERITAGE MOTOR FREIGHT, INC., as aforesaid, the
plaintiff, RONALD K. SERAFIN, was unable to attend to his usual activities and employment,
as a result of which he has suffered a loss of earnings and earning capacity, and may continue to
incur such losses for an indefinite time in the future.

WHEREFORE, the plaintiff, RONALD K. SERAFIN, demands judgment against the
defendants, THOMAS D. BROWN, SCHNEIDER NATIONAL CARRIERS, INC., ALLEN R.
ENGLISH, ENGLISH TRUCKING, HERITAGE MOTOR FREIGHT, INC., and CALDER J.

GLASEBROOK, both jointly and severally, in an amount in excess of $75,000.00, exclusive of

interest, costs and attorney’s fees.

CERTIFICATION

Damon A. Vespi, Esq. hereby certifies that there are no other actions or arbitrations
pending or contemplated involving the subject matter of this controversy at this time, and that

there are no additional known parties who should be joined to the present action at this time.

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I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.

THE VESPI LAW FIRM, LLC
Attorneys for Plaintiff

By: TF a

Dated: December 9, 2021 DAMON A. VESPI

NOTICE PURSUANT TO F.R.C.P. RULE 5 AND 31 (C)

PLEASE TAKE NOTICE that the undersigned attorney hereby demands that each party
herein serve pleadings and/or interrogatories and/or receiving papers thereto serve copies of all
such pleadings and answered interrogatories received from any party upon the undersigned and

take further notice that this is a continuing demand.

THE VESPI LAW FIRM, LLC
Attorneys for Plaintiff
A

DAY

Dated: December 9, 2021 DAMON A. VESPI

NOTICE OF DESIGNATION OF TRIAL COUNSEL

Plaintiffs hereby designate Damon A. Vespi, Esq. as Trial Counsel.

THE VESPI LAW FIRM, LLC
Attorneys for Plaintiff

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Dated: December 9, 2021 DAMON A. VESPI

